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                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                                     )
                                                             )
                 v.                                          )
                                                             )        Docket No. 1:24-cr-10071-FDS
ERIC TABARO NSHIMIYE,                                        )
                                                             )
                          Defendant.                         )


                      GOVERNMENT’S OPPOSITION TO DEFENDANT’S
                           “MOTION IN SUPPORT OF BOND”

        The United States of America, by and through undersigned counsel, hereby submits this

opposition to Defendant’s Motion and Memorandum in Support of Bond. [D.18]. As set forth

below, to the extent that this motion seeks to reopen the detention decision entered in this matter,

the defendant has failed to provide facts which: (1) were not known to him at the time of the

original detention order; and (2) are material to the issues of assuring his appearance and the

safety of the community. 18 U.S.C. § 3142(f)(2). To the extent that the defendant is seeking to

appeal the order of detention entered on March 29, 2024, to the district court, that appeal is

untimely. Fed.R.Crim.P. 59(a). In either event, this Court should deny the motion.

                                             Procedural History

        On March 21, 2024, the defendant was arrested in the Northern District of Ohio on a

criminal complaint issued by this Court. [DOH.1; D.14]. 1 The complaint charged the defendant

with violations of 18 U.S.C. §1623(a) (perjury); 18 U.S.C. §§ 1503 and 2 (Obstruction of

Justice/Aiding and Abetting); and 18 U.S.C. §1001(a)(1) (falsifying, concealing, and covering up

a material fact by trick, scheme, or device). [D.1]. At his initial appearance that day, the

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 “[D.*]” refers to the docket in U.S. v. Nshimiye, 1:24-cr-10071-FDS (D.Mass.). “[DOH.*]” refers to the docket in
U.S. v. Nshimiye, 4:24-mj-06106-CEH (N.D. Ohio).
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government moved for detention on three grounds: risk of flight under 18 U.S.C. § 3142(f)(2)(a);

risk of obstruction under 18 U.S.C. § 3142(f)(2)(B); and danger to the community under 18

U.S.C. § 3142(f)(1)(E). 2 The government requested a short continuance to prepare for a

detention hearing, and defense counsel requested several additional days to comport with his trial

schedule. A preliminary hearing to address probable cause, detention, and identity was set for

March 29, 2024, and the defendant was detained pending that hearing. [D.14, ND Ohio docket

notes].

          On March 26, 2024, a grand jury sitting in Boston indicted the defendant in a six count

indictment charging him with violations of 18 U.S.C. §1623(a) (perjury); 18 U.S.C. §§ 1503 and

2 (Obstruction of Justice/Aiding and Abetting); and 18 U.S.C. §1001(a)(1) (falsifying,

concealing, and covering up a material fact by trick, scheme, or device). [D.11]. The indictment

obviated the need for a probable cause determination in the Northern District of Ohio. See

Fed.R.Crim.P. 5.1(a)(2).

          The defendant was represented in Ohio by the Federal Public Defenders Office. [D.14].

Prior to the hearing, the defendant gathered more than 60 letters of support and defense counsel

submitted them to the Court in support of the defendant’s release. See, Notice of Submission of

Letters of Support, U.S. v. Nshimiye, CASE NO. 4:24 MJ 6106 (N.D. Ohio). On March 29,

2024, at the outset of the hearing, the defendant waived his right to an identity hearing. [DOH.6;

D.14]. The Court then held a full detention hearing and both parties proffered facts and made

arguments. [D.14 Ohio docket note]. At the conclusion of the hearing, the Court found that the

government had met its burden of demonstrating that no condition or combination of conditions

2
 While the clerk’s notes on the docket sheet only make reference to risk of flight, the Assistant U.S. Attorney
reports that he moved under all three grounds and believes the hearing recording will reflect that. A tape of that
hearing has been ordered.
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would reasonably assure the appearance of the defendant, and ordered the defendant detained.

[DOH.4; D.14]. The hearing was widely attended by the defendant’s family and friends. See,

Community Defends Eric Nshimiye, Canton Independent (March 29, 2024).

       The Court issued a Warrant of Removal to this district on March 29, 2024. [DOH.7;

D.14]. The defendant did not seek review of the Order of Detention with the district judge in this

district pursuant to 18 U.S.C. § 3145(b).

                                            Argument

       The defendant opted for a full detention hearing in the Northern District of Ohio – his

“home” district – and was found to be a risk of flight. He now suggests he should get a second

opportunity to argue essentially the same facts before this Court, as if the original hearing never

took place. Nothing in the applicable statues or rules permits such a second bite at the apple, and

this Court should summarily reject the instant motion.

       While the defendant had a right to seek review of the Northern District of Ohio Order of

Detention by Chief Judge Saylor pursuant to 18 U.S.C. § 3145(b), he failed to exercise that right

within the applicable time period. That review would have had to be filed within 14 days

pursuant to Fed.R.Crim.P. 59(a). See also Rules for U.S. Magistrate Judges in the U.S. District

Court for the District of Massachusetts, Rule 1(c) (ruling of a magistrate judge is a ruling of the

Court and is final unless reversed by the district judge); United States v. Bowens, 2007 WL

2220501, at *1 (D. Ariz. July 31, 2007)(dismissing appeal of bail determination as untimely

under Rule 59(a)); United States v. Tooze, 236 F.R.D. 442 (D.Ariz. 2006). Moreover, nothing in

his motion suggests that this is an appeal from the ruling in the Northern District of Ohio, nor is

there any explanation in his pleading for his failure to act within the prescribed 14 days.


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       While this Court may reopen the detention hearing and conduct a further hearing if

“information exists that was not known to the movant at the time of the [original] hearing and

that has a material bearing on the issue . . . ,” 18 U.S.C. § 3124(f), the decision to reopen is

discretionary and the defendant in this case offers the Court nothing which was “not known” so

as to prompt a reopening. See United States v. Watson, 475 F. App'x 598, 601 (6th Cir. 2012)

(noting the distinction between a review of the original detention decision by the district judge

and the reopening of a detention matter, and concluding that the latter is entirely discretionary

and dependent on the presentation of new facts); United States v. Bararia, 2013 WL 1907782, at

*4 (D. Nev. Mar. 12, 2013), aff'd, 2013 WL 1907750 (D. Nev. May 7, 2013) (noting that “Courts

interpret [the requirement of unknown information] strictly” citing cases).

       Those courts which have addressed the issue have concluded that information “not

known,” sufficient to give rise to reopening a detention hearing, includes those facts which were

capable of being known after the exercise of reasonable diligence for the original proceeding.

See United States v. Dillon, 938 F.2d 1412, 1415 (1st Cir. 1991); see also United States v.

Flores, 856 F. Supp. 1400, 1405–06 (E.D. Cal. 1994); United States v. Spring, 2014 WL

6609156, at *2 (D. Mass. Nov. 20, 2014) (“It seems clear that the cases interpret this statutory

language to mean not just actual knowledge, but also constructive knowledge, i.e., knowledge

‘that one using reasonable care or diligence should have, and therefore that is attributed by law to

a given person.’” citation omitted.) As the Flores court discussed, it is essential that § 3142(f) be

applied in a manner which encourages a party to be diligent in “bringing forth all material

evidence the first time a hearing is held.” Id.; see, also United States v. Smith, 2012 WL

3776868, at *4 (D. Ariz. Aug. 31, 2012) (rejecting a motion for reopening a bail hearing filed by


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new counsel citing the need for litigants to acquire readily available evidence for the original

hearing).

       The First Circuit has addressed nearly identical circumstances as those presented in this

case and upheld a district court decision not to reopen a detention hearing. See Dillon, 938 F.2d

1412. In Dillion, the defendant had a full detention hearing before a magistrate judge and was

detained. Id. at 1415. He then sought review of that decision in the district court pursuant to 18

U.S.C. §3145, which also resulted in his detention. Id. He then retained new counsel and that

counsel gathered a number of letters in support of release from family and friends and a

commitment by the defendant’s father to post a home worth $200,000 to ensure the defendant

complied with the terms of his release. Id. Upon new defense counsel’s motion, the district

court declined to reopen the detention hearing. Id. It concluded that the letters and offer of

equity in a home could have been offered at the original detention hearing and did not qualify as

“unknown information” pursuant to 18 U.S.C. § 3142(f). Id. The First Circuit affirmed the

district court’s decision. Id. Notably, both the district court and the First Circuit relied on the

fact that, “‘numerous relatives and friends’ of appellant had shown up for the [original] hearing .

. . lending support to the [district] court's finding that the information contained in the affidavits

and letters was indeed available to appellant at the time of the hearing.” Id.

       In this case, original counsel had more than a week to prepare for the detention hearing.

He gathered numerous letters of support from family and friends of the defendant. Moreover,

numerous supporters of the defendant were present for, and demonstrated at, his original

detention hearing. While the defendant may suggest that the half-hearted offer of additional

surety in footnote two of his in his motion is sufficient to reopen detention in this matter [D.18,


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fn. 2], the First Circuit has clearly stated otherwise. Dillon, 938 F.2d at 1415; see also United

States v. Mateo Soto, 2017 WL 3705797, at *2 (D. Mass. Aug. 25, 2017)(rejecting a motion to

reopen detention hearing, concluding “[d]efendant has not shown that the properties [offered as

surety] or the willingness of their owners to post them is previously nonexistent information”).

       Finally, while the Court need not address it in denying the instant motion, there is one

new fact which strongly supports the decision of the magistrate judge in the Northern District of

Ohio. On April 12, 2024, Beatrice Munyenyezi was convicted in Rwanda and sentenced to life

in prison. https://www.newtimes.co.rw/article/15960/news/crime/beatrice-munyenyezi-

sentenced-to-life-imprisonment-for-genocide-crimes. Ms. Munyenyezi is a Rwandan

genocidaire who had been convicted in the District of New Hampshire in 2013 of crimes similar

to those the defendant faces in this case, and after serving her ten year federal sentence was

returned to Rwanda to face justice there. Notably, Ms. Munyenyezi was convicted for conduct in

Butare, the same town in which the defendant is alleged to have perpetrated his crimes as a

medical student. Moreover, the government anticipates that it will offer evidence at trial in this

matter which links the defendant to the hotel and roadblock which Ms. Munyenyezi controlled

during the genocide.

       The recent life sentence imposed on a Rwandan genocidaire from the same town as the

defendant, and who was convicted on similar charges in the United States before being returned,

substantially increases the likelihood that the defendant will flee to avoid prosecution in this




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case.



                                                       Respectfully submitted,

                                                       JOSHUA S. LEVY
                                                       Acting United States Attorney

                                              By:      s/John T. McNeil
                                                       JOHN T. McNEIL
                                                       AMANDA BECK
                                                       Assistant U.S. Attorneys




                                 CERTIFICATE OF SERVICE

Suffolk, ss.:                                          Boston, Massachusetts
                                                         April 29, 2024

I, John T. McNeil, hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).

                                                      s/John T. McNeil
                                                       JOHN T. McNEIL




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